Exhibit A

Memorandum from Ms. Holliday

Case 3:21-cv-00274 Document 1-1 Filed 04/05/21 Page 1 of 3 PagelD #: 11
 

Administrative Office of the Courts

Nashville City Center, Suite 600
511 Union Street

Nashville, Tennessee 37219

615 / 741-2687 or 800 / 448-7970

FAX 615 / 744-6285
Deborah Taylor Tate Michelle Long
Director Deputy Director

MEMORANDUM

TO: Gerald “Jerry” D. Morgan
FROM: Stephanie Holliday {#
Human Resources Manager
DATE: December 11, 2020
RE: Separation of employment
HOOF OHHHHHHHOE

This letter confirms your employment separation from the Tennessee Board of Professional
Responsibility. As discussed on the call with Sandy Garrett, Rachel Harmon, and me, your
separation will be effective today, December 11, 2020.

Disciplinary Counsel for the Board of Professional Responsibility (“Board”) hold a position of
public trust. They have a duty fo protect the public by investigating and prosecuting
disciplinary proceedings without discrimination or bias. We acknowledge and respect your
right to free speech. However, your speech has adversely impacted your ability to
successfully perform your job duties.

Specifically, posts you placed on Twitter in 2015 have been raised as an issue in a Motion to
Disqualify Disciplinary Counsel for Being an Anti-Muslim Bigot filed in Chancery Court for
Davidson County. Additionally, posts you placed on Twitter in 2019 and 2020 have caused
another attorney facing disciplinary action in a separate proceeding to question your
recommendations to the Board.

Your last paycheck will be issued to you at the end of the month, and your health insurance
coverage will end after December 31, 2020.

Case 3:21-cv-00274 Document 1-1 Filed 04/05/21 Page 2 of 3 PagelD #: 12
Your annual leave balance of 52.5 hours and your sick leave balance of 165 hours will be
submitted for separate payment for a total of $10,500, which you should receive within 45
days, provided we timely receive all state-owned equipment in your possession.

For us to process your final leave check, ail of the following state-owned items must be
returned to the Board in good, workable condition by Wednesday, December 16, 2020:

e¢ Office key card
e Laptop computer with charging cord(s) and accessories, including carrying case;
e Tennessee Judicial Department Photo iDs;

if the above-listed items are returned after December 16, 2020, it will delay processing and
receipt of your payout of leave.

The State’s employee assistance program is available to you while your benefits remain
active through December 31, 2020. Optum’s online fink is www.here4tn.com, and the phone
number is 855-437-3486. To speak with someone about to your 401(k) and retirement
information, you can call 1-800-922-7772.

ff you have questions concerning how to return your laptop and other state-owned
equipment, or if you have questions regarding your benefits, please contact me at
shoilliday@tncourts.gov. | will be in touch soon to schedule a time for you to gather your
personal belongings from the office of the Board, and the process for you to return all state
owned items in your possession.

You may choose to designate this separation as a resignation or termination.

|, Gerald Morgan, elect to: Resign / Accept termination from my position.

 

Gerald “Jerry” BD. Morgan Date

Case 3:21-cv-00274 Document 1-1 Filed 04/05/21 Page 3 of 3 PagelD #: 13
